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                       and Live Nation Entertainment, Inc.
                   8
                   9
                                          UNITED STATES DISTRICT COURT
               10
                                        CENTRAL DISTRICT OF CALIFORNIA
               11
               12
                       MICHELLE STERIOFF, individually           Case No. 2:22-cv-09230-GW-GJS
               13      and on behalf of all others similarly
                       situated,
               14                                                MEMORANDUM OF POINTS
                                        Plaintiff,               AND AUTHORITIES IN SUPPORT
               15                                                OF DEFENDANTS’ MOTION TO
               16      v.                                        COMPEL ARBITRATION

               17      LIVE NATION ENTERTAINMENT,                The Honorable George H. Wu
                       INC., and TICKETMASTER, LLC,
               18
                                        Defendants.
               19                                                Hearing Date: TBD
               20                                                Hearing Time: 8:30 a.m.
               21                                                Courtroom: 9D, 9th Floor
               22
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                                                                               MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                            MOT. TO COMPEL ARBITRATION
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               17    No. 21-56200, 2023 WL 1954688 (9th Cir. Feb. 13, 2023), aff’g
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 SAN FRANCISCO                                                                    iii                    MOT. TO COMPEL ARBITRATION
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                   1 I.      INTRODUCTION
                   2         Plaintiff Michelle Sterioff brought this putative class action against
                   3 Defendants Ticketmaster and Live Nation for purported damages related to
                   4 Ticketmaster’s onsale1 for the Taylor Swift | The Eras Tour. Plaintiff, however,
                   5 agreed on numerous occasions to arbitrate her claims against Defendants.2 For
                   6 example, Plaintiff repeatedly assented to Ticketmaster and Live Nation’s Terms of
                   7 Use (the “Terms”) when she signed in to her Ticketmaster account to register for
                   8 and participate in Ticketmaster’s presales for The Eras Tour, when she accepted a
                   9 transfer of tickets to The Eras Tour through her Ticketmaster account, and when she
               10 purchased tickets on Ticketmaster’s sites.           Those Terms contain a mandatory
               11 arbitration agreement which broadly applies to any claims relating to the use of
               12 Ticketmaster and Live Nation’s sites, products, or services.
               13            The Ninth Circuit recently enforced Ticketmaster and Live Nation’s Terms,
               14 based on the same and similar notices provided to Plaintiff.              Specifically, in
               15 Oberstein v. Live Nation Entertainment, Inc., the Ninth Circuit held that notices on
               16 “the Ticketmaster and Live Nation websites provided reasonably conspicuous notice
               17 of the Terms,” that, by clicking on the action buttons associated with those notices,
               18 users “unambiguously manifested assent” to the Terms, and that “the Terms,
               19 including the arbitration provision, [are therefore] valid and binding” on users.
               20
               21      1
                              “Onsale” is an industry term of art; it typically includes all manner of sales
               22      generally available to the public, including presales. The onsale for The Eras Tour
                       included the “TaylorSwiftTix” presale and the “Capital One Cardholder” presale.
               23      Decl. of K. Tobias in Support of Defs.’ Mot. to Compel Arb. (“Tobias Decl.”) ¶ 9.
                       Plaintiff participated in both of those presales. See Compl. ¶¶ 20–21, ECF No. 1.
                       2
               24             The parties stipulated to limit briefing on Defendants’ motion to compel
                       arbitration to the following issues: (1) whether Plaintiff assented to Defendants’
               25      Terms of Use, (2) whether the arbitration provision therein delegates arbitrability to
                       the arbitrator, and (3) whether the arbitration provision encompasses Plaintiff’s
               26      claims. Joint Stip. Setting Briefing Schedule ¶ 4, ECF No. 24 (“Joint Stip.”).
                       Defendants’ opening motion is therefore limited to those issues in accordance with
               27      the parties’ agreement. Pursuant to that agreement, Defendants reserve the right to
                       make and/or respond to arguments relating to other issues after this Court rules on
               28      the pending motion to compel arbitration in Heckman v. Live Nation Entertainment,
                       Inc., et al., Case No. 22-cv-00047 (C.D. Cal.).
                                                                                     MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    1               MOT. TO COMPEL ARBITRATION
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                   1 No. 21-56200, 2023 WL 1954688, at *7–9 (9th Cir. Feb. 13, 2023), aff’g No. 20-cv-
                   2 3888, 2021 WL 4772885, at *6–7 (C.D. Cal. Sept. 20, 2021) (Wu, J.). The Ninth
                   3 Circuit’s ruling in Oberstein is dispositive here: Plaintiff was presented with the
                   4 exact same sign-in notice at issue in Oberstein (as well as other, similar notices)
                   5 many times. Per the Ninth Circuit’s ruling, that notice of the Terms provides
                   6 constructive notice to users like Plaintiff as a matter of law. See id. at *9–10.
                   7 Plaintiff is therefore bound by the Terms—including the arbitration agreement,
                   8 which clearly and unmistakably delegates all questions relating to the interpretation,
                   9 applicability, enforceability, or formation of the agreement to the arbitrator. As this
               10 Court and others have held many times over, the Court’s analysis stops there. See,
               11 e.g., Oberstein, 2021 WL 4772885, at *7–8; Lee v. Ticketmaster L.L.C., No. 18-cv-
               12 05987, 2019 WL 9096442, at *1 (N.D. Cal. Apr. 1, 2019), aff’d, 817 F. App’x 393
               13 (9th Cir. 2020).
               14 II.        FACTUAL BACKGROUND
               15            A.    Plaintiff’s Claims
               16            Plaintiff purports to bring a class action on behalf of two putative classes of
               17 consumers “who purchased one or more tickets to Taylor Swift’s ‘The Eras’
               18 Tour . . . for personal, family, or household purposes”—in Washington state and
               19 nationwide. Compl. ¶ 45. Plaintiff alleges violations of California’s Consumers
               20 Legal Remedies Act, California’s Unfair Competition Law, California’s False
               21 Advertising Law—and also asserts fraud-related and quasi-contract claims—based
               22 on Ticketmaster’s advertisement of, management of, and representations about
               23 The Eras Tour onsale, including the TaylorSwiftTix and Capital One Cardholder
               24 presales. See id. ¶¶ 58–99, 144–171. In addition, Plaintiff alleges various antitrust
               25 violations based on Defendants’ purported “efforts to (a) force consumers to
               26 purchase and sell Tickets exclusively through Ticketmaster’s primary and secondary
               27 ticketing platforms, and (b) coerce artists, such as Taylor Swift, to exclusively
               28 market and promote Ticketmaster.” Compl. ¶¶ 100–106; see also id. ¶¶ 107–143.
                                                                                    MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   2               MOT. TO COMPEL ARBITRATION
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                   1 Plaintiff claims that all of this alleged conduct forced her and other putative class
                   2 members to pay supracompetitive prices for tickets to The Eras Tour. Id. ¶¶ 8–10,
                   3 24, 36, 43–44, 66–67, 77, 90–91, 97, 104, 162, 166. These purported injuries,
                   4 Plaintiff alleges, “flow, in each instance, from a common nucleus of operative fact,
                   5 namely, Defendants’ anticompetitive and misleading conduct in connection with its
                   6 ticketing services for Taylor Swift’s ‘The Eras’ Tour.” Id. ¶ 51.
                   7        B.     The Terms
                   8        Since 2011, Defendants’ Terms have contained a provision whereby users
                   9 expressly agree to submit their claims against Defendants to binding arbitration.
               10 Tobias Decl. ¶¶ 20–22 & Exs. 14–18. The current Terms, which have been operative
               11 since July 2, 2021, provide that:
               12           YOU AND WE EACH AGREE THAT, EXCEPT AS PROVIDED
                            BELOW, ANY DISPUTE, CLAIM, OR CONTROVERSY
               13
                            RELATING IN ANY WAY TO THE TERMS, YOUR USE OF
               14           THE SITE, OR PRODUCTS OR SERVICES SOLD,
                            DISTRIBUTED, ISSUED, OR SERVICED BY OR THROUGH
               15
                            US—IRRESPECTIVE OF WHEN THAT DISPUTE, CLAIM, OR
               16           CONTROVERSY AROSE—WILL BE RESOLVED SOLELY BY
                            BINDING, INDIVIDUAL ARBITRATION AS SET FORTH IN
               17
                            THE TERMS, RATHER THAN IN COURT. YOU AND WE
               18           THEREBY EACH AGREE TO WAIVE ANY RIGHT TO A
                            JURY TRIAL, AND AGREE THAT YOU AND WE MAY BRING
               19
                            CLAIMS AGAINST EACH OTHER ONLY IN AN INDIVIDUAL
               20           CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER
               21           IN ANY PURPORTED CLASS OR REPRESENTATIVE
                            PROCEEDING. . . .
               22
                            Governing Law; Interpretation and Enforcement. The arbitration
               23           agreement in the Terms is governed by the Federal Arbitration Act (9
               24           U.S.C. § 1 et seq.) (“FAA”), including its procedural provisions, in all
                            respects. This means that the FAA governs, among other things, the
               25           interpretation and enforcement of this arbitration agreement and all of
               26           its provisions, including, without limitation, the class action waiver.
                            State arbitration laws do not govern in any respect. Further, you and we
               27           each agree that the Terms evidence a transaction involving interstate
               28           commerce, and will be governed by and construed in accordance with
                                                                                   MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  3               MOT. TO COMPEL ARBITRATION
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                   1       federal law to the fullest extent possible. . . .
                   2
                           Delegation; Interpretation. The arbitrator, and not any federal, state
                   3       or local court or agency, shall have exclusive authority to the extent
                   4       permitted by law to resolve all disputes arising out of or relating to the
                           interpretation, applicability, enforceability, or formation of this
                   5       Agreement, including, but not limited to, any claim that all or any part
                   6       of this Agreement is void or voidable; however, in the event of a dispute
                           about which particular version of this Agreement you agreed to, a court
                   7       will decide that specific question. This arbitration agreement is
                   8       intended to be broadly interpreted and will survive termination of the
                           Terms.
                   9
               10 Tobias Decl. Ex. 14. Prior versions of the Terms were similar. See id. Exs. 15–18.
               11          C.     Plaintiff’s Agreement to the Terms
               12          To make even a single purchase on Defendants’ websites and applications,
               13 users must agree to the Terms at numerous, distinct times—including, for example,
               14 at account creation, account sign-in, and ticket purchase. Tobias Decl. ¶¶ 6, 11–12
               15 & Exs. 1-2, 3-4, 6-8.3 The Ninth Circuit, in a binding decision, recently found each
               16 of these points of assent to be valid and binding. See Oberstein, 2023 WL 1954688,
               17 at *7–9, aff’g 2021 WL 4772885, at *6–7. This Court and numerous others have
               18 reached the same conclusion in other cases. See, e.g., Hansen v. Ticketmaster Ent.,
               19 Inc., No. 20-cv-02685, 2020 WL 7319358, at *1, *5 (N.D. Cal. Dec. 11, 2020)
               20 (Ticketmaster “Sign In” page); Ajzenman v. Off. of Comm’r of Baseball, No. 20-cv-
               21 3643, 2020 WL 6031899, at *2, *4 (C.D. Cal. Sept. 14, 2020) (Ticketmaster “Sign
               22 In” and purchase pages); Dickey v. Ticketmaster LLC, No. 18-cv-9052, 2019 WL
               23 9096443, at *5–7 (C.D. Cal. Mar. 12, 2019) (Ticketmaster “Sign Up” page); Lee v.
               24 Ticketmaster L.L.C., 817 F. App’x 393, 394–95 (9th Cir. 2020) (Ticketmaster “Sign
               25
                       3
               26        In addition, at the bottom of virtually every Live Nation and Ticketmaster
                  website page that users navigate in the ticket selection and purchase process, there
               27 is a notice that, by using the site, users are agreeing to the Terms. Id. ¶ 18 & Exs.
                  12-13. Courts have also found that this notice provides constructive notice of the
               28 Terms. See Himber v. Live Nation Worldwide, Inc., No. 16-cv-5001, 2018 WL
                  2304770, at *5 (E.D.N.Y. May 21, 2018).
                                                                                   MEM. OF P. & A. IN SUPP. OF
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                   1 In” and purchase pages); Nevarez v. Forty Niners Football Co., LLC, No. 16-cv-
                   2 07013, 2017 WL 3492110, at *7–10 (N.D. Cal. Aug. 15, 2017) (Ticketmaster
                   3 account creation, sign-in, and purchase pages).
                   4        Here, Plaintiff affirmatively accepted the Terms—including the arbitration
                   5 agreement—when she created her account on July 3, 2018, and, subsequently, each
                   6 time she signed in to her account, and each time she purchased her tickets. See
                   7 Tobias Decl. ¶¶ 5–7; Decl. of H. Green in Support of Defs.’ Mot. to Compel Arb.
                   8 (“Green Decl.”) ¶ 5. She also accepted the Terms and arbitration agreement when
                   9 registering for presales, and when she accepted ticket transfers through
               10 Ticketmaster. Tobias Decl. ¶¶ 8–11, 15–17; Green Decl. ¶¶ 7–9. As a result, over
               11 the years, Plaintiff has accepted Defendants’ Terms more than a dozen times. See
               12 Tobias Decl. ¶¶ 5–6, 8–12, 15–17; Green Decl. ¶¶ 5–9. To streamline this motion,
               13 the factual discussion will focus on Plaintiff’s recent acceptances of the current
               14 Terms—including her acceptance of the Terms in connection with The Eras Tour,
               15 which forms the basis of her Complaint.
               16                 1.     Plaintiff’s Participation in the Onsale for The Eras Tour
               17           In November 2022, Plaintiff registered for and participated in the onsale for
               18 The Eras Tour. Specifically, on November 1, 2022, Plaintiff used her Ticketmaster
               19 account to register for the TaylorSwiftTix presale. Compl. ¶ 18; Greene Decl. ¶ 6.
               20 To do so, she had to sign in to her Ticketmaster account, and complete the
               21 registration through her account. Tobias Decl. ¶ 9. The TaylorSwiftTix presale
               22 subsequently took place on November 15, 2022; Plaintiff participated in that presale
               23 and attempted to purchase tickets. Compl. ¶ 20. To do so, Plaintiff had to sign in to
               24 her Ticketmaster account.4 Tobias Decl. ¶¶ 9–10. Later, on November 16, 2022,
               25 Plaintiff also participated in the Capital One Cardholder presale for The Eras Tour
               26
               27      4
                         In order to participate in the TaylorSwiftTix presale, all users—including
               28 Plaintiff—were required to sign in to their Ticketmaster accounts before attempting
                  to purchase tickets. Tobias Decl. ¶ 9.
                                                                                  MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 5               MOT. TO COMPEL ARBITRATION
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                   1 and attempted to purchase tickets. Compl. ¶ 21. Again, to do so, Plaintiff had to
                   2 sign in to her Ticketmaster account.5 Tobias Decl. ¶¶ 9–10.
                   3        Each time she signed in to her account—to register for TaylorSwiftTix
                   4 presale, and to participate in both the TaylorSwiftTix presale and Capital One
                   5 Cardholder presale—Plaintiff assented to the current Terms. Specifically, on the
                   6 sign-in page, she was notified: “By continuing past this page, you agree to the Terms
                   7 of Use and understand that information will be used as described in our Privacy
                   8 Policy.” The words “Terms of Use” appeared in bold, bright blue, color-contrasting
                   9 text, immediately above the “Sign in” button, and hyperlinked directly to the full
               10 text of the current Terms:
               11
               12
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               22
               23 See Tobias Decl. ¶ 11. This is the exact same notice that the Ninth Circuit recently
               24 held provides constructive notice, binding users to the Terms and the arbitration
               25
               26      5
                         Unlike the TaylorSwiftTix presale, the Capital One Cardholder presale did
               27 not require pre-registration; rather, the purchaser needed to use a Capital One card
                  at checkout. Like the TaylorSwiftTix presale, however, all users—including
               28 Plaintiff—were required to sign in to their Ticketmaster accounts before attempting
                  to purchase tickets. Tobias Decl. ¶ 9.
                                                                                   MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  6               MOT. TO COMPEL ARBITRATION
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                   1 agreement therein. See Oberstein, 2023 WL 1954688, at *7–9, aff’g 2021 WL
                   2 4772885, at *6–7; see also Hansen, 2020 WL 7319358, at *1, *5 (also finding that
                   3 the same notice provides constructive notice of the Terms); Ajzenman, 2020 WL
                   4 6031899, at *1–2, *4 (same); see also Lee, 817 F. App’x at 394–95 (finding that
                   5 substantially identical notice provides constructive notice).
                   6               2.     Plaintiff’s Acceptance of Ticket Transfers
                   7         Plaintiff alleges that she was unable to secure tickets through Ticketmaster
                   8 during the TaylorSwiftTix and Capital One Cardholder presales, and so opted to
                   9 purchase resale tickets to The Eras Tour through a non-Ticketmaster resale
               10 platform.6 Compl. ¶ 24. In order to receive and access those tickets, Plaintiff was
               11 required to accept an electronic transfer of the tickets through her Ticketmaster
               12 account.       Tobias Decl. ¶¶ 15–17.      Defendants’ records indicate that Plaintiff
               13 accepted that transfer via Ticketmaster’s mobile site on December 9, 2022. Green
               14 Decl. ¶¶ 7–8. To do so, Plaintiff had to assent to the current Terms at least twice:
               15 when she accepted her tickets in the ticket-transfer email she received, and when she
               16 signed in to her account to complete the transfer.
               17            First, when the tickets to The Eras Tour were transferred to Plaintiff, she
               18 received an email notifying her of the transfer. See Tobias Decl. ¶ 16 & Ex. 11. In
               19 that email, Plaintiff was presented with an “ACCEPT TICKETS” button, which she
               20 had to click in order to accept transfer of the tickets. Id. Directly below that button,
               21 Plaintiff was notified: “By clicking ‘ACCEPT TICKETS,’ you agree to our Terms
               22 of Use and any applicable ticket back terms.” Id. The words “Terms of Use”
               23 appeared in color-contrasting, bright blue text, immediately below the “ACCEPT
               24
                       6
               25         These tickets were initially sold by Ticketmaster during onsale for The Eras
                  Tour. Green Decl. ¶¶ 7–8. Plaintiff alleges that she subsequently purchased them
               26 from a reseller on a non-Ticketmaster resale platform. Compl. ¶ 24. Ticketmaster
                  does not have visibility into off-platform resales or the reasons for a particular ticket
               27 transfer, but Ticketmaster’s records show that three tickets to The Eras Tour were
                  transferred to Plaintiff on December 9, 2022. Green Decl. ¶¶ 7–8. Despite being
               28 transferred, Ticketmaster still distributes, issues, and services those tickets, because
                  it is the primary ticketing service provider for the event. Tobias Decl. ¶¶ 15–16.
                                                                                    MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   7               MOT. TO COMPEL ARBITRATION
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                   1 TICKETS” button, and hyperlinked directly to the full text of the current Terms:
                   2
                   3
                   4
                   5
                   6
                   7
                   8 See id. This notice is similar to other notices on Ticketmaster’s sites that the Ninth
                   9 Circuit, this Court, and others have held is sufficient to bind users to the Terms. See,
               10 e.g., Lee, 817 F. App’x at 394–95; Nevarez, 2017 WL 3492110, at *7–10; Himber,
               11 2018 WL 2304770, at *5.
               12            Second, when Plaintiff clicked the “ACCEPT TICKETS” button, she was
               13 auto-directed to Ticketmaster’s sign-in page, which opened in a new window.
               14 Tobias Decl. ¶ 17. Plaintiff was required to sign in to her Ticketmaster account in
               15 order to accept the transferred tickets. Id. When she did so, she saw the exact same
               16 sign-in notice discussed in Section II.C.1, above, which notified her that, “By
               17 continuing past this page, you agree to the Terms of Use and understand that
               18 information will be used as described in our Privacy Policy.” As always, the words
               19 “Terms of Use” in the sign-in notice appeared in bold, color-contrasting text,
               20 immediately above the “Sign in” button, and hyperlinked directly to the full text of
               21 the current Terms. See Oberstein, 2023 WL 1954688, at *7–9 (finding that this exact
               22 notice provides constructive notice, binding users to the Terms and the arbitration
               23 agreement therein).7
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                        Plaintiff’s acceptance of tickets to The Eras Tour was not the first time she
               27 accepted a ticket transfer through Ticketmaster’s site. For example, Plaintiff
                  accepted ticket transfers for at least two other events in November 2022. Green
               28 Decl. ¶ 7. Plaintiff was also required to sign in to her account and accept the Terms
                  when accepting these transfers. See Tobias Decl. ¶¶ 16–17.
                                                                                     MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    8               MOT. TO COMPEL ARBITRATION
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                   1               3.     Plaintiff’s Other Recent Ticket Purchases
                   2         In addition to using Ticketmaster’s sites multiple times to register for and
                   3 participate in The Eras Tour presales, and to accept the transfer of tickets to The Eras
                   4 Tour (and other shows), Plaintiff has also used Ticketmaster’s sites on numerous
                   5 occasions to purchase tickets. For example, on May 23, 2022, Plaintiff used
                   6 Ticketmaster’s mobile site to purchase tickets to Hamilton, scheduled for June 24,
                   7 2022 at the Richard Rodgers Theatre. Green Decl. ¶ 9(c). And on November 2,
                   8 2022, Plaintiff used Ticketmaster’s mobile application to purchase tickets to Cirque
                   9 Du Soleil: Corteo, scheduled for March 5, 2023 at the Climate Pledge Arena. Id.
               10 ¶ 9(d); see also id. ¶ 9(a)–(b) (identifying additional ticket purchases made by
               11 Plaintiff).
               12            In connection with each of these purchases, Plaintiff had to assent to the Terms
               13 on multiple occasions—including each time she signed in to her account,8 and each
               14 time she placed an order. For example, when Plaintiff purchased tickets to Cirque
               15 Du Soleil on November 2, 2022, she was required to sign in to her account—at which
               16 point she would have seen the exact same sign-in notice discussed above, in Section
               17 II.C.1. Then, to complete the ticket purchase, Plaintiff was required to check a box
               18 affirmatively acknowledging: “I have read and agree to the current Terms of
               19 Use.” The notice appeared in bold font, with the words “Terms of Use” in color-
               20 contrasting, bright blue text (hyperlinked directly to the full text of the current
               21 Terms), immediately above the “Place Order” button:
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               28            Users are required to sign in to their accounts in order to purchase tickets.
                       Tobias Decl. ¶ 8.
                                                                                     MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    9               MOT. TO COMPEL ARBITRATION
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                   1 See Tobias Decl. ¶ 12. This notice is similar to the one that the Ninth Circuit found
                   2 constituted constructive notice (thereby binding users to the Terms) in Oberstein: it
                   3 appears in bold, bright blue, color-contrasting text, hyperlinks directly to the Terms,
                   4 and is immediately above the “Place Order” button. Oberstein, 2023 WL 1954688,
                   5 at *7–9, aff’g 2021 WL 4772885, at *6–7; Tobias Decl. ¶ 14 & Exs. 9–10
                   6 (screenshots of notice at issue in Oberstein). But in contrast to the notice at issue in
                   7 Oberstein, the purchase page notice in this case also required Plaintiff to check a box
                   8 affirming her agreement to the current Terms. In 2022, Plaintiff checked that box
                   9 on Ticketmaster’s sites two separate times. Each time she did so, Plaintiff again
               10 affirmed her agreement to the “current Terms of Use.”
               11 III.       LEGAL STANDARD
               12            The Federal Arbitration Act (“FAA”) governs Plaintiff’s claims. See Tobias
               13 Decl. Exs. 14–18 (current and prior versions of the Terms, stating that the FAA
               14 governs). Under the FAA, an agreement to arbitrate “shall be valid, irrevocable, and
               15 enforceable, save upon such grounds as exist at law or in equity for the revocation
               16 of any contract.” 9 U.S.C. § 2. Congress enacted the FAA in order “to replace [a]
               17 ‘widespread judicial hostility’” toward arbitration “with a ‘liberal policy favoring
               18 arbitration.’” In re Grice, 974 F.3d 950, 955 (9th Cir. 2020) (citation omitted).
               19 Courts must “rigorously . . . enforce arbitration agreements according to their
               20 terms.” Id. (quoting Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621 (2018). By
               21 “affording parties discretion in designing arbitration processes,” the FAA promotes
               22 “efficient, streamlined procedures tailored to the type of dispute.” AT&T Mobility
               23 LLC v. Concepcion, 563 U.S. 333, 344 (2011).
               24            Pursuant to the FAA’s strong policy favoring arbitration, the district court’s
               25 role in ruling on a motion to compel arbitration is typically “limited to determining:
               26 (1) whether a valid agreement to arbitrate exists and, if it does, (2) whether the
               27 agreement encompasses the dispute at issue.” Oberstein, 2021 WL 4772885, at *2.
               28 But where, as here, the parties delegate to the arbitrator the power to decide gateway
                                                                                     MEM. OF P. & A. IN SUPP. OF
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 SAN FRANCISCO                                                   10               MOT. TO COMPEL ARBITRATION
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                   1 arbitrability issues—such as the scope and enforceability of the arbitration
                   2 agreement—the district court’s inquiry is even more limited. “[I]f a valid agreement
                   3 exists, and if the agreement delegates the arbitrability issue to an arbitrator, a court
                   4 may not decide the arbitrability issue.” Henry Schein, Inc. v. Archer & White Sales,
                   5 Inc., 139 S. Ct. 524, 530 (2019). To determine whether there is a valid delegation
                   6 clause, the court undertakes a limited inquiry into whether the parties “clearly and
                   7 unmistakably” delegated the power to decide arbitrability to the arbitrator.
                   8 Brennan v. Opus Bank, 796 F.3d 1125, 1130 (9th Cir. 2015).
                   9 IV.     ARGUMENT
               10            A.    Plaintiff Assented to the Terms on Multiple Occasions
               11            There is no question that Plaintiff repeatedly agreed to the current Terms—
               12 including the multiple occasions when she signed in to her account, accepted the
               13 transfer of tickets into her account, and purchased tickets.
               14            The notice that Plaintiff saw at sign-in alone is dispositive here. Each time
               15 Plaintiff signed in to her Ticketmaster account in November and December 2022,
               16 for example—which she was required to do, in order to register for and participate
               17 in the presales, and to accept ticket transfers—Plaintiff was presented with the exact
               18 same notice that the Ninth Circuit recently found is conspicuous and binds users to
               19 the Terms and the arbitration agreement therein. See Oberstein, 2023 WL 1954688,
               20 at *7–9, aff’g 2021 WL 4772885, at *6–7.9 As the Ninth Circuit explained, that
               21 notice at sign-in “provide[s] reasonably conspicuous notice of the Terms”; as a
               22 result, users (like Plaintiff) who sign in to their Ticketmaster accounts
               23 “unambiguously manifest[] assent” to the current Terms, including the arbitration
               24 agreement. Id. The Court’s inquiry can and should end there: Oberstein is binding
               25 authority, and the Court need only find that Plaintiff assented to the Terms at one
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               27        See also Hansen, 2020 WL 7319358, at *1, *5 (finding that the exact same
                  notice at sign-in bound users to the Terms); Ajzenman, 2020 WL 6031899, at *2, *4
               28 (same); Lee, 817 F. App’x at 394–95 (same conclusion, on de novo review, with
                  respect to substantially identical notice at sign-in).
                                                                                     MEM. OF P. & A. IN SUPP. OF
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                   1 point in the user flow to conclude that the Terms are enforceable. See Lee, 2019 WL
                   2 9096442, at *1 n.1; Dickey, 2019 WL 9096443, at *7.
                   3         But Plaintiff also assented to the Terms on many, many other occasions. For
                   4 example, Plaintiff assented to the Terms, multiple times, when she accepted the
                   5 transfer of tickets to The Eras Tour into her Ticketmaster account. There, when she
                   6 initially clicked to accept the transfer, the notice: (1) was directly adjacent to the
                   7 “Accept Tickets” button, (2) explicitly stated that, by clicking that button, Plaintiff
                   8 agreed to the Terms, and (3) displayed “Terms of Use” in color-contrasting, bright
                   9 blue font that hyperlinked directly to the full text of the Terms. See Tobias Decl.
               10 ¶ 16. Courts have repeatedly found assent where plaintiffs were presented with
               11 notices that had these (and similar) features. See, e.g., Lee, 817 F. App’x at 394–95;
               12 Nevarez, 2017 WL 3492110, at *7–10; Himber, 2018 WL 2304770, at *5; In re Ring
               13 LLC Priv. Litig., No. 19-cv-10899, 2021 WL 2621197, at *5 (C.D. Cal. June 24,
               14 2021) (collecting cases).
               15            Plaintiff also checked a box affirming that she read and agreed to the current
               16 Terms each time she purchased tickets through Ticketmaster’s platform in 2022. See
               17 Tobias Decl. ¶ 12. Again, the Ninth Circuit, this Court, and others have repeatedly
               18 found that similar notices on Defendants’ purchase pages are conspicuous and bind
               19 users to the Terms. See Oberstein, 2021 WL 4772885, at *6–7; Ajzenman, 2020 WL
               20 6031899, at *2, *4; Nevarez v. Forty Niners Football Co., LLC, No. 16-cv-07013,
               21 2017 WL 3492110, at *7–10 (N.D. Cal. Aug. 15, 2017). The notice on the purchase
               22 pages that Plaintiff saw when purchasing tickets in 2022 is, if anything, even more
               23 conspicuous than the purchase pages at issue in Oberstein and other cases, because
               24 it includes a box that users must check, attesting that they “have read and agree to
               25 the current Terms,” before they can complete their purchase. See Tobias Decl. ¶ 12.
               26 Courts routinely find that checkbox notices—referred to as pure “clickwrap”
               27 notices—bind users to the terms at issue. See, e.g., In re Holl, 925 F.3d 1076, 1084
               28 (9th Cir. 2019) (“no question” that plaintiff “affirmatively assented to the . . . Terms”
                                                                                    MEM. OF P. & A. IN SUPP. OF
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                   1 where “[h]e checked a box acknowledging as much”); Oberstein, 2023 WL
                   2 1954688, at *9 (explaining that, to avoid any “second-guessing” about whether a
                   3 particular notice is sufficiently conspicuous and “ensure that an online agreement
                   4 passes muster, clickwrap is the safest choice”).
                   5         As the Ninth Circuit held in Oberstein, the notices on “the Ticketmaster and
                   6 Live Nation websites provide[] reasonably conspicuous notice of the Terms to which
                   7 [users] unambiguously manifest[] assent,” therefore, “the Terms, including the
                   8 arbitration provision, [are] valid and binding.” Id. Plaintiff was presented with those
                   9 notices many times, including in connection with her attempts to purchase tickets to
               10 The Eras Tour, and she unambiguously manifested her assent many times. She is
               11 therefore bound by the Terms, including the arbitration provision.
               12            B.    The Parties Clearly and Unmistakably Delegated Arbitrability to
               13                  the Arbitrator
               14            Once the Court finds that Plaintiff agreed to be bound by the Terms, the
               15 Court’s inquiry ends. To the extent Plaintiff intends to challenge whether her claims
               16 fall within the scope of the arbitration agreement, that agreement “clearly and
               17 unmistakably” provides that those issues must be decided by an arbitrator and not
               18 the Court. See Henry Schein, 139 S. Ct. at 529, 531 (holding that where there is
               19 “clear and unmistakable evidence” that the “contract delegates the arbitrability
               20 question to an arbitrator, the courts must respect the parties’ decision as embodied
               21 in the contract,” “even if the court thinks that the argument that the arbitration
               22 agreement applies to a particular dispute is wholly groundless”).
               23            This Court has already determined, on multiple occasions, that the Terms are
               24 “clear and unmistakable” in delegating issues of arbitrability to the arbitrator, not
               25 the Court. Oberstein, 2021 WL 4772885, at *7; Dickey, 2019 WL 9096443, at *8.
               26 The Terms specify that:
               27            The arbitrator, and not any federal, state or local court or agency, shall
                             have exclusive authority to the extent permitted by law to resolve all
               28            disputes arising out of or relating to the interpretation, applicability,
                                                                                     MEM. OF P. & A. IN SUPP. OF
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 SAN FRANCISCO                                                    13              MOT. TO COMPEL ARBITRATION
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                   1        enforceability, or formation of this Agreement, including, but not
                            limited to any claim that all or any part of this Agreement is void or
                   2        voidable.10
                   3 See Tobias Decl. Ex. 14 (current Terms) (emphasis added); see also id. Exs. 15–18
                   4 (prior versions).11 “Multiple other courts,” in addition to this one, “have looked at
                   5 the exact same language and also confirmed that it satisfies the ‘clear and
                   6 unmistakable’ standard.” Oberstein, 2021 WL 4772885, at *7 (citing Lee, 2019 WL
                   7 9096442, at *1); Nevarez, 2017 WL 3492110, at *11; Himber, 2018 WL 2304770,
                   8 at *5. There is no reason why the Court should “deviate from its previous holding
                   9 that the delegation clause in the [Defendants’] TOUs meets the requisite ‘clear and
               10 unmistakable’ standard.” Oberstein, 2021 WL 4772885, at *7 (quoting Dickey,
               11 2019 WL 9096443, at *8). Further, as this Court recently explained, because the
               12 delegation clause is clear and unmistakable (including in its delegation of
               13 arbitrability), questions regarding the scope of the arbitration provision are
               14 “contractually delegated to the arbitrator.” See id. at *8; see also, e.g., Schwendeman
               15 v. Health Carousel, LLC, No. 18-cv-07641, 2019 WL 6173163, at *3 (N.D. Cal.
               16 Nov. 20, 2019) (analyzing arbitration provision with the exact same delegation
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               18 by New In addition, the Terms also specify that the arbitration “will be administered
                            Era ADR in accordance with their Virtual Expedited Arbitration Rules and
               19 modified by as
                  Procedures,      well as any applicable General Rules and Procedures, except as
                                the Terms.” Tobias Decl. Ex. 14. The New Era Rules specify that
               20 “[a]ny  question or matter of arbitrability of a dispute shall be determined solely by
                  the neutral(s) provided by New Era ADR Inc. and not in a court of law or other
               21 judicial forum. The parties agree and acknowledge that they are waiving their right
                  to seek a determination of arbitrability in a court of law or other judicial forum.”
               22 New    Era Rule 2(z)(i) (emphasis in original). This is further “clear and
                  unmistakable” evidence that the parties intended the arbitrator to determine the
               23 threshold  question of arbitrability. See, e.g., Johnson v. Oracle Am., Inc., No. 17-
                  cv-05157, 2017 WL 8793341, at *6–9 (N.D. Cal. Nov. 17, 2017) (enforcing
               24 arbitration  agreement incorporating arbitration provider’s rules, which gave
                  “arbitrator authority to decide arbitrability disputes”).
               25 11     The delegation clause in the current Terms is identical to prior versions
                  (including the versions at issue in Oberstein and Dickey), save for one difference; it
               26 includes a narrow exception: “[I]n the event of a dispute about which particular
                  version of this Agreement you agreed to, a court will decide that specific question.”
               27 Tobias Decl. Exs. 14 (current Terms), 15–18 (prior versions). This exception does
                  not apply here, as the Terms were last updated on July 2, 2021, and Plaintiff assented
               28 to the Terms as recently as December 9, 2022, as well as on multiple, additional
                  occasions post-July 2021. See supra Sections II.C & IV.A.
                                                                                   MEM. OF P. & A. IN SUPP. OF
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                   1 language and concluding that “the delegation clause . . . delegates to the arbitrator
                   2 all questions of arbitrability, including . . . whether the Agreement covers a
                   3 particular controversy”); Andrews v. Michaels Store, Inc., No. 21-cv-02294, 2021
                   4 WL 4813760, at *5, *7 (C.D. Cal. Sept. 15, 2021) (similar). The Court’s analysis
                   5 can and should stop there.
                   6
                            C.     The Arbitration Agreement Plainly Encompasses the Dispute at
                   7               Issue
                   8        Because the delegation clause clearly and unmistakably delegates questions
                   9 of arbitrability to the arbitrator, the Court need not—and may not—inquire further.
               10 See Henry Schein, 139 S. Ct. at 530. If, however, the Court finds the delegation
               11 clause does not meet the clear and unmistakable standard, the Court should still
               12 enforce the parties’ arbitration agreement because the arbitration agreement plainly
               13 encompasses Plaintiff’s claims.         “[T]he scope of the claims governed by an
               14 arbitration clause depends on the language used in the clause.” Augustine v. TLC
               15 Resorts Vacation Club, LLC, No. 18-cv-01120, 2018 WL 3913923, at *8 (S.D. Cal.
               16 Aug. 16, 2018) (citation omitted). The Supreme Court has held that claims must be
               17 arbitrated “unless it may be said with positive assurance that the arbitration clause is
               18 not susceptible of an interpretation that covers the asserted dispute.” AT&T Techs.,
               19 Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 650 (1986) (citation omitted). In
               20 making this determination, courts in the Ninth Circuit interpret provisions that
               21 include the phrase “relating to” broadly. See, e.g., Cayanan v. Citi Holdings, Inc.,
               22 928 F. Supp. 2d 1182, 1207 (S.D. Cal. 2013) (“The Ninth Circuit explained . . . that
               23 the inclusion of the phrase ‘relating to’ should lead to a broader interpretation.”).
               24           Plaintiff’s claims are unquestionably covered by the arbitration provision,
               25 which broadly states:
               26                  any dispute, claim, or controversy relating in any way to
                                   the Terms, your use of the site, or products or services
               27                  sold, distributed, issued, or serviced by or through us …
                                   will be resolved solely by binding, individual arbitration
               28                  as set forth in the Terms, rather than in court.
                                                                                   MEM. OF P. & A. IN SUPP. OF
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                   1 Tobias Decl. Ex. 14 (emphases added). Plaintiff’s claims not only relate to, but
                   2 indeed are anchored in, Ticketmaster’s website, products, and services in connection
                   3 with The Eras Tour onsale. The very first paragraph of Plaintiff’s Complaint alleges
                   4 that her lawsuit derives from Defendants’ “handling of the presale, sale, and resale
                   5 of concert tickets to Taylor Swift’s ‘The Eras’ Tour.” Compl. ¶ 1. And Plaintiff
                   6 claims that all of her injuries, and all the putative class members’ injuries, “flow, in
                   7 each instance, from a common nucleus of operative fact, namely, Defendants’
                   8 anticompetitive and misleading conduct in connection with its ticketing services for
                   9 Taylor Swift’s ‘The Eras’ Tour.” Id. ¶ 51.
               10            For example, Plaintiff alleges that: “Ticketmaster controlled the registration
               11 and access to ‘The Eras’ Tour tickets,” id. ¶ 27; “Ticketmaster’s website crashed”
               12 during the onsale, id. ¶ 30; and Ticketmaster charged “supracompetitive” prices for
               13 tickets to the Eras Tour, resulting in damages to Plaintiff and putative class members,
               14 id. ¶ 44. In making these allegations, Plaintiff concedes that she used Ticketmaster’s
               15 site and services in connection with The Eras Tour onsale—for example, to register
               16 for and participate in the presales, and communicate with Ticketmaster about how
               17 those presales would work—and she claims that, while using Ticketmaster’s site and
               18 services, “she experienced significant technical issues” that then caused her to suffer
               19 damages. Id. ¶¶ 18–24.
               20            The Eras Tour resale tickets that Plaintiff ultimately received—and that
               21 Plaintiff claims she overpaid for (id. ¶ 24)—are also distributed, issued, and serviced
               22 by Ticketmaster. Ticketmaster is the primary ticketing service provider for the event
               23 to which Plaintiff purchased tickets; it distributes, issues, and services the tickets
               24 (e.g., it distributes tickets to users’ accounts, manages the digital ticket and barcodes,
               25 handles ticket security, and operates the software used to verify those tickets upon
               26 admission to the event, which has not yet occurred). See Tobias Decl. ¶ 15. Indeed,
               27 Plaintiff was informed of that fact when she accepted the transfer of those tickets
               28 into her Ticketmaster account. See Tobias Decl. ¶ 16.
                                                                                     MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
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                   1         There is no question that Plaintiff’s claims relate to her “use of the site” and
                   2 “products or services sold, distributed, issued, or serviced by or through”
                   3 Defendants. See Tobias Decl. Ex. 14. Where, as here, “a valid agreement to arbitrate
                   4 exists,” and that “agreement encompasses the dispute at issue,” “the [FAA] requires
                   5 the court to enforce the arbitration agreement in accordance with its terms.” Chiron
                   6 Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000).
                   7         D.     The Court Should Dismiss This Action
                   8         The Court “may either stay the action or dismiss it outright when, as here, the
                   9 court determines that all of the claims raised in the action are subject to arbitration.”
               10 Johnmohammadi v. Bloomingdale’s, Inc., 755 F.3d 1072, 1074 (9th Cir. 2014).
               11 Here, as courts have found in many other cases, dismissal is the most efficient path
               12 forward. See, e.g., Peterson v. Lyft, No. 16-cv-07343, 2018 WL 6047085, at *6
               13 (N.D. Cal. Nov. 19, 2018) (granting motion to compel arbitration and dismissing
               14 case).
               15 V.         CONCLUSION
               16            The FAA directs courts to “respect and enforce the parties’ chosen arbitration
               17 procedures” and “rigorously . . . enforce arbitration agreements according to their
               18 terms.” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621 (2018). The parties here
               19 unquestionably agreed to arbitrate the claims at issue, including threshold questions
               20 of arbitrability. Defendants therefore respectfully request that the Court grant
               21 Defendants’ motion to compel arbitration and dismiss or, in the alternative, stay this
               22 action.
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                                                                                      MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    17               MOT. TO COMPEL ARBITRATION
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                   1 Dated: February 24, 2023       Respectfully Submitted,
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                   3
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                                                                     MEM. OF P. & A. IN SUPP. OF
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                   1
                                        CERTIFICATE OF WORD COMPLIANCE
                   2
                   3         The undersigned, counsel of record for Defendants Ticketmaster L.L.C. and
                   4 Live Nation Entertainment, Inc., certifies that this brief contains 5,726 words, which
                   5 complies with the word limit of Civil Local Rule 11-6.1.
                   6
                   7 Dated: February 24, 2023                    /s/ Timothy L. O’Mara
                   8                                                Timothy L. O’Mara

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                                                                                    MEM. OF P. & A. IN SUPP. OF
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  19               MOT. TO COMPEL ARBITRATION
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